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                                                                                        MlNISTERE DE LA JUSTICE

                                                                                                                                                               n° 11527"03


                                                                                      Attestation de temoin
                                                 (Ariicles 200 a 203 du code de procedure civUe, article -1_41-7 du code penal)




                       J;?l_Madame                                  □M'?IJSieur
                       Votre nom (de naissance): ..:·..JC~~'"-'="fP::C..:.MA;:...,o·~Y>,,'-"'~--------,----------
                       Vofre nom d'usage (ex. nom d'epouse) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
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                       Pa~s: • I J . $ £
                      Lien de parente, d'omance; de subordinalian, _de col!~borotion OU d~ comrnunoute d'inte~ts avec
                      Jes parties : •      •0uiO            non JZJ.             •               ·•
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                       Sochant q;je l'otleslafton·s~ra utilisee en Justice et_connolssonce prised~ dlsp~sltlons de !'article
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